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 This document has been electronically entered in the records of the United
 States Bankruptcy Court for the Southern District of Ohio.


 IT IS SO ORDERED.



 Dated: November 26, 2024



 ________________________________________________________________


                           UNITED STATES BANKRUPTCY COURT
                              SOUTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION

In the Matter of:                                :    Case No. 24-53034
                                                 :
ANTHONY COY JOHNSON                              :    Chapter 7
                                                 :
                                  Debtor.        :    Judge Mina Nami Khorrami

         ORDER GRANTING MOTION OF TRUSTEE, AND REQUIRING DEBTOR
    (1) TO FILE TAX RETURNS, AND (2) REQUIRING DEBTOR TO REQUEST THAT
         ANY TAX REFUNDS BE ISSUED TO THE DEBTOR, AND (3) REQUIRING
        THAT THE DEBTOR TURNOVER TO THE TRUSTEE ANY TAX REFUND
           CHECKS AND, (4) REQUIRING THAT THE IRS DIRECT DEBTOR’S
        REFUND CHECK TO THE TRUSTEE, AND (5) ENJOINING THE DEBTOR
                   FROM CASHING ANY TAX REFUND CHECKS
                                             (Related Doc# 18)


       This matter came before the Court upon the motion of Trustee for an order requiring the

Debtor to file 2024 Federal, State and School District income tax returns by no later than April 15,

2025 and requiring the Debtor to check the appropriate box on these tax returns to request that any tax

refunds be sent to the Debtor and requiring the IRS to direct the Debtor’s refund check directly to the

Trustee, and requiring the Debtor to turn over to the Trustee within 10 days of receipt any tax refund

checks for this tax year and enjoining the Debtor from cashing any tax refund checks for this tax year
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upon their receipt and requesting that the Court order that service be made upon the Debtor, the

Internal Revenue Service, Special Procedures Branch, and the Debtor’s attorney of the order granting

the Trustee’s motion.

        It appears that a copy of the Trustee’s motion has been served upon the Debtor, attorney for the

Debtor and the U.S. Trustee and that there have been no objections or requests for hearing filed in

response to the Trustee’s motion within the applicable notice period.

        Accordingly, and based upon a review of the matters set forth in the Trustee’s motion and a

review of the relevant portions of the Court file, the Court finds that the Trustee’s motion should be

granted and hereby ORDERS as follows.

        1.      The Debtor is ORDERED, pursuant to the provisions of 11 U.S.C. § 521(a) (3) and

(4), 11 U.S.C. § 521(f) and Local Bankruptcy Rule 4002-1, to file the Debtor’s 2024 Federal, State

and School District income tax returns by no later than April 15, 2025 and shall send a copy of the tax

returns as filed to the Trustee within 10 days of the date of the filing of these returns.

        2.      The Court further ORDERS, pursuant to the provisions of 11 U.S.C. § 521(a)(3) and

(4), 11 U.S.C. § 521(f) and Local Bankruptcy Rule 4002-1, that the Debtor is required to check the

appropriate box on these tax returns to request that any tax refunds be sent to the Debtor.

        3.      The Court further ORDERS, pursuant to the provisions of 11 U.S.C. § 521(a)(3) and

(4), 11 U.S.C. § 521(f) and Local Bankruptcy Rule 4002-1, that the Debtor is required to turnover to

the Trustee any tax refund checks for this year within 10 days of their receipt by the Debtor.

        4.      The Court further ORDERS, pursuant to the provisions of 11 U.S.C. § 521(a)(3) and

(4), 11 U.S.C. § 521(f) and Local Bankruptcy Rule 4002-1, that the IRS mail Debtor’s tax refund, if

any, directly to the Trustee.
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       5.      The Court further ORDERS, pursuant to the provisions of 11 U.S.C. § 521(a)(3) and

(4), 11 U.S.C. § 521(f), 11 U.S.C. §105 and Local Bankruptcy Rule 4002-1, that the Debtor is

enjoined from cashing any tax refund checks received by the Debtor for this tax year.

       6.      The Court hereby further ORDERS that the Clerk shall serve a copy of this Order

upon the Debtor, the attorney for the Debtor and the IRS Special Procedures Branch by U.S. mail at

the addresses set forth below and that service in this manner shall be effective for all purposes under

the Bankruptcy Code, the Federal Rules of Bankruptcy Procedure and the Local Bankruptcy Rules.

       IT IS SO ORDERED.

APPROVED:


/s/ William B. Logan, Jr.
William B. Logan, Jr.        0019290
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Copies to: Default List and Additional Parties

Internal Revenue Service, PO Box 7346, Philadelphia, PA 19101-7346

U.S. Attorney—Columbus, 303 Marconi Blvd., Ste. 200, Columbus, OH 43215

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       Washington, D.C. 20530
